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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG

 UNITED STATES OF AMERICA,


 v.                                                              Criminal Action No. 3:21-CR-49
                                                                 (GROH)

 JONATHAN TOEBBE and
 DIANA TOEBBE,

                       Defendants.

         UNITED STATES’ UNOPPOSED MOTION FOR PROTECTIVE ORDER
      PURSUANT TO § 3 OF THE CLASSIFIED INFORMATION PROCEDURES ACT

        The United States of America and William J. Ihlenfeld, II, United States Attorney for the

 Northern District of West Virginia, by Jarod J. Douglas, Assistant United States Attorney for said

 District, Jessica Lieber Smolar, Special Assistant United States Attorney for said District, and S.

 Derek Shugert and Matthew J. McKenzie, Trial Attorneys, U.S. Department of Justice, National

 Security Division, respectfully moves for the entry of the attached Protective Order Pertaining to

 Classified Information.   In support of its motion, the United States avers as follows.

        1.      On October 19, 2021, a Federal Grand Jury in Elkins, West Virginia, returned the

 instant Indictment [Doc. 37], charging violations of the Atomic Energy Act of 1954, 42 U.S.C. §

 2011 et seq., relating to the communication of Restricted Data, a form of classified information.

        2.      Restricted Data and other classified materials, including but not limited to

 documents the defendants are charged with conspiring to communicate, were collected as part of

 the investigation and will be subject to procedures outlined in the Classified Information

 Procedures Act, 18 U.S.C. App. III (CIPA), as well as other rules, statutes, and case law.

        3.      CIPA’s definition of classified information expressly includes “restricted data, as

 defined in paragraph r. of section 11 of the Atomic Energy Act of 1954 (42 U.S.C. 2014(y)).” 18

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 U.S.C. App. III § 1.    Section 3 of CIPA provides that the court shall issue an order, upon the

 request of the United States, “to protect against the disclosure of any classified information

 disclosed by the United States to any defendant in any criminal case.”          In contrast to the

 discretionary authority in Rule 16(d)(1), Section 3 of CIPA provides that, when classified

 information is involved, protective orders are to be issued whenever the government discloses

 classified information to a defendant in connection with a prosecution. See H.R. Rep. No. 96-

 831, part 1, at 26 (1980).

        4.      On October 21, 2021, the Court appointed Harry J. Rucker to serve as the Classified

 Information Security Officer (“CISO”) for this matter.       Doc. 59.   This motion and attached

 Protective Order Pertaining to Classified Information has been reviewed by the CISO.

        5.      The undersigned has consulted with defense counsel, who consent to the entry of

 the attached Protective Order.

        WHEREFORE, the United States respectfully requests that the Court enter the attached

 protective order.

                              Respectfully submitted,

                              WILLIAM J. IHLENFELD, II
                              UNITED STATES ATTORNEY

                              By:        /s/
                                    Jarod J. Douglas, Assistant United States Attorney
                                    Jessica Lieber Smolar, Special Assistant United States Attorney
                                    United States Attorney’s Office for the
                                    Northern District of West Virginia
                                    1125 Chapline Street, Suite 3000
                                    Wheeling, WV 26003

                                         /s/
                                    S. Derek Shugert and Matthew J. McKenzie
                                    Trial Attorneys
                                    Counterintelligence and Export Control Section
                                    National Security Division
                                    United States Department of Justice

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                                  CERTIFICATE OF SERVICE

        I, Jarod J. Douglas, Assistant United States Attorney for the Northern District of West

 Virginia, hereby certify that on the 4th day of November 2021, the foregoing UNITED STATES’

 UNOPPOSED MOTION FOR PROTECTIVE ORDER PURSUANT TO § 3 OF THE

 CLASSIFIED INFORMATION PROCEDURES ACT, including Exhibit No. 1, was

 electronically filed with the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to the following:

                                        Nicholas J. Compton, Esq.
                                    Assistant Federal Public Defender
                                           MVB Bank Building
                                      651 Foxcroft Avenue, Ste. 202
                                         Martinsburg, WV 25401
                                  Counsel for Defendant Jonathan Toebbe

                                      Edward B. MacMahon, Jr., Esq.
                                         107 E. Washington Street
                                          Middleburg, VA 20117
                                    Counsel for Defendant Diana Toebbe

                                            Barry P. Beck, Esq.
                                        Power, Beck & Matzureff
                                            308 W. Burke Street
                                        Martinsburg, WV 25401
                                    Counsel for Defendant Diana Toebbe


                                                       WILLIAM J. IHLENFELD, II
                                                       UNITED STATES ATTORNEY

                                                 By:   /s/ Jarod J. Douglas
                                                       Jarod J. Douglas
                                                       Assistant United State Attorney




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